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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


STEVEN C. ARGENTO, individually and d/b/a
S.C. FINE ARTS,
                              Plaintiff,

                                                                   Case # 16-CV-6172-FPG-MWP
v.
                                                                   DECISION AND ORDER

MARILYN SANTIAGO, FOR THE LOVE
OF RAMÓN LLC, ALL THAT JAZZ,
ROCHESTER, LLC, ACT TWO HOME STAGING,
and JOHN DOES 1 to 10.

                                     Defendants.



                                      INTRODUCTION

       Plaintiff Steven Argento brought this copyright and trademark infringement suit against

Defendant All That Jazz (hereinafter “Defendant”) on June 24, 2016. ECF No. 7. On August 9,

2017, Defendant moved for summary judgment. ECF No. 41. Plaintiff never responded to

Defendant’s Motion. On December 18, 2017, the Court granted Defendant’s Motion with respect

to Plaintiff’s trademark claim but submitted to the Register of Copyrights an inquiry regarding

Plaintiff’s copyright claim. On January 25, 2018, the Register of Copyrights answered the Court’s

inquiry. For the reasons stated below, Defendant’s Motion for Summary Judgement is GRANTED

in full.




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                                                     DISCUSSION

I.    Factual Background1

       The factual background of this action is detailed in the December 18, 2017 Order Granting in

Part and Deferring in Part Defendant’s Motion for Summary Judgment. ECF No. 44. A brief

summary follows of the background relevant to this Order.

       Rochester-based artist Ramón Santiago died in December of 2001, naming his widow,

Marilyn Santiago, as the sole beneficiary of his estate. ECF No. 41-3 at 1. Accordingly, all

intellectual property interests in his art passed to Ms. Santiago. Id. Plaintiff, Ramón Santiago’s

nephew, nonetheless claims an ownership interest in a “stylized R”2 drawing that his uncle Ramón

invented several decades ago. Plaintiff registered the “stylized R” design with the Copyright

Office in February 2016, falsely listing on his copyright registration application that he authored

the design. On June 6, 2016, Plaintiff sued Defendant for unauthorized distribution of copyrighted

work under 17 U.S.C. § 106(3).

II.    Referral to the Copyright Office

       As explained in the Court’s December 2017 Order, only registered copyrights are

presumptively valid and capable of supporting an infringement suit. ECF No. 44 at 6. Defendant

asks the Court to invalidate Plaintiff’s copyright, which would destroy both Plaintiff’s ability to

maintain his infringement suit and the presumptive validity of his registered “R.”

       17 U.S.C. § 411(b) requires the Court to answer two questions before invalidating a

copyright registration: 1) whether “the inaccurate information was included on the application for

copyright registration with knowledge that it was inaccurate,” and 2) whether “the inaccuracy of



1
  These facts are taken from Defendant’s unopposed Statement of Material Facts as to Which There is No Genuine Issue.
ECF No. 41-3.
2
  Plaintiff alleges that the “stylized R” is actually a “Lucky 3.” ECF No. 47 at 2. The precise name of the design is not
relevant to any legal argument in this case, so for the sake of consistency between this Order and the Court’s December
2017 Order, the Court will continue to refer to the design as the “stylized R.”
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the information, if known, would have caused the Register of Copyrights to refuse registration.”

17 U.S.C. § 411(b)(1). If the Court answers both questions in the affirmative, it should hold the

registration “invalid and thus incapable of supporting an infringement action.” Russ Berrie & Co.

v. Jerry Elsner Co., 482 F. Supp. 980, 988 (S.D.N.Y. 1980).

       The Court has already determined that Plaintiff included inaccurate information concerning

the authorship of the stylized “R” on his copyright application with the knowledge that it was

inaccurate. ECF No. 44 at 8. As required by 17 U.S.C. § 411(b)(2), the Court submitted the second

question of whether “the inaccuracy of the information, if known, would have caused the Register

of Copyrights to refuse registration” to the Register of Copyrights. ECF No. 45.

       On January 25, 2018, the Register of Copyrights responded to the Court’s inquiry. The

Register determined that had the Copyright “Office been aware, prior to registration,” that the

stylized “R” “appears to have been created by [Ramón Santiago], the Office would have refused

the 2016 registration of that work, because [Plaintiff] Steven Argento was not the person who

created the work, and this case does not implicate the question of authorship in a situation involving

work made for hire.” ECF No. 46 at 3.

       Because the Court, with the aid of the Register of Copyrights, has answered both of 17

U.S.C. § 411(b)’s questions in the affirmative, it accordingly holds Plaintiff’s registration invalid

and thus unable to support a copyright infringement suit. Plaintiff’s claim under 17 U.S.C. § 106(3)

is therefore DISMISSED.3




3
 The Court dismissed Plaintiff’s trademark claim under the New York Arts and Culture Affair Law in the December
2017 Order. ECF No. 44.
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                                      CONCLUSION

      For the reasons stated above, Defendant’s Motion for Summary Judgement (ECF No. 41)

is GRANTED in full. The Clerk of the Court is directed to terminate Defendant All That Jazz

from this case.

       IT IS SO ORDERED.

Dated: February 15, 2018
       Rochester, New York
                                          ______________________________________
                                          HON. FRANK P. GERACI, JR.
                                          Chief Judge
                                          United States District Court




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